Case 5:23-cv-00032-RWS Document 57-1 Filed 12/04/23 Page 1 of 1 PageID #: 954




                       IN THE UNITED STATES DISTRICT COURT
                        FOR THE EASTERN DISTRICT OF TEXAS
                               TEXARKANA DIVISION

ALEXANDRA DAVIS,
    Plaintiff,

vs.                                                     CIVIL ACTION No. 5:23-cv-00032-RWS

JERRAL W. JONES, DALLAS COWBOYS
FOOTBALL CLUB, LTD., JAMES
WILKINSON, TRAILRUNNER
INTERNATIONAL, LLC, and DONALD
JACK, JR.
      Defendants.


      ORDER GRANTING DEFENDANTS’ PARTIALLY AGREED MOTION FOR
            CONTINUANCE OF DEFENDANT JACK’S DEPOSITION

       Before the Court is Defendants’ Partially Agreed Motion for Continuance of Defendant

Jack’s Deposition (the “Motion”). Having considered the Motion, response and reply thereto (if

any), the Court concludes that the Motion is well taken and should be GRANTED.

       It is therefore, ORDERED that Jack’s deposition be continued temporarily without

conditions to an agreed date.

       It is further ORDERED that all depositions in this matter are continued until after the

motion to dismiss is argued.

       It is further ORDERED that when depositions commence they follow the order as

previously agreed by the Parties, specifically: Plaintiff, Wilkinson, TrailRunner, Jack and Jones.
